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            Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 1 of 8
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  Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 3 of 8




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      Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 4 of 8
    Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 5 of 8




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       Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 6 of 8




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     Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 7 of 8




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       Case 2:20-cv-00119-jmc-gwc Document 4 Filed 09/15/20 Page 8 of 8
                                                      -\
         On appeal 1o this Court. plaintitf makep noy'ttelnpt to challenge the civil division's
 rendition of the facts or its reasoning. Rather. he aldes his cornplaint should not be barred by the
 statute of limitations because he has been seeking compensation for the past tvventy-four years.
 Without addressing the exclusivity prqylqro[ claiqpreclygion, or issue plgg&srg!, we conclurJe
 that plaintiff s complaini is UarriO by ihe statute oflimitations for filin!-pei*nult-in3r,y acrions.
 for the reasons stated by the civil division. See Mahoney v. Tara. LLC, 2011 Vl- 3, fl 7. 189 Vt.




                                                                                                         (i




                                                 Beth Robinson. Associate Justice



                                                                             iate Justice


                                                                   Associate Justice




       . We ernphasize that our decision to affimr the trial courl's dismissal of this case is based
on the delay in filing this personal injury claim; we are not making any decision about the accuracy
o[plaintills claims.
